Case 2:03-cr-20104-.]DB Document 142 Filed 06/02/05 Page 1 of 4 PagelD 146

FlLED BY’
uNrTErJ sTATEs DrsTRicT coui=i'r _
wEsTERN DrsTRlcT oF TENNEssEE "`"'”
MEMPHrs olvrsroN
JUN - 2 2005

UN|TED STATES OF AMER!CA

Robert R. Dl Trollol Clark

'V° 2103-201 O4CR-O1-B wl 13 %FD|T?“T !`CAEMEL|S

OllliAR ABDI JAMAL
C. Peter Er|inder, Retained
Defense Attorney
875 Summit Avenue
St. Paul, lVlN 55106-3076

 

JUDGN|ENT |N A CR||V||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Counts 1-5 of the indictment on January 07, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tiue & section MM Offense M£e_rtsl
Concluded
18 U.S.C. § 1546 Fraud and lVlisuse of Visas, Permits 04/03/1998 1-3
and Other Documents
18 U.S.C. § 1001 ll/laking a Materially Fraudulent or 06/11/1998 4 & 5

False Statement

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and the Nlandatory
Victims Ftestitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 2/1/1973 June 02, 2005
Deft’s U.S. l\/larsha| No.: 10954-041

Defendant’s |Vlailing Address:
277 Selby Avenue
Apartment #202
St. Paul, lVlN 55102 W@A\
J. DAN|EL BREEN
U lTED STATES DlSTFilCT JUDGE

Tth rln.~. ment entered on the docket street in codmpliance June l 2005
with Fi.lle 55 andfor 32fb\ FRCIP QH_M_.LL_Q§-- _Q>.

/¢/,_z,

Case 2:03-cr-20104-.]DB Document 142 Filed 06/02/05 Page 2 of 4 PagelD 147

Case No: 2:030Fi20104-01~B Defendant Name: Omar Abdi JAMAL Page 2 of 3

PROBAT|ON
The defendant is hereby placed on probation for a term of 1 Year.

While on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution. j

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

B. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:03-cr-20104-.]DB Document 142 Filed 06/02/05 Page 3 of 4 PagelD 148

Case No: 2:030Ft20104-01-B Defendant Name: Omar Abdi JAN|AL Page 3 of 3

10.

11.

12.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine ora restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. Defendant shall be immediately referred to the U.S. Citizenship and lmmigration
Service for deportation

2. Defendant shall cooperate with the co|iection of DNA as directed by the Probation
Officer.

CR||V||NAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for defauit and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$500.00

The Special Assessment shall be due immediately.

F|NE
No fine imposed.

REST|TUT|ON
No Restitution Was ordered.

UNITES,EDSTD`TATSIRIC COURT -WESTER DSTCT OFTENNESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 142 in
ease 2:03-CR-20104 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

C. Peter Erlinder

WM MITCHELL COLLEGE OF LAW
875 Summit Ave.

St. Paul, MN 55105

Honorable .1. Breen
US DISTRICT COURT

